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4    Attorney for Plaintiff,
     JOSE RIVAS
5

6                         UNITED STATES DISTRICT COURT
7
                          CENTAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
8
                                               Case No.: 8:15-cv-01123
9    JOSE RIVAS,
10                 Plaintiff,
                                               COMPLAINT AND DEMAND FOR
11           vs.                               JURY TRIAL
12                                             (Unlawful Debt Collection Practices)
     CAPITAL SERVICING GROUP,
13                                             Demand Does Not Exceed $10,000
     LLC.; & CRAIG SADLAK,
14
                   Defendants.
15

16                  COMPLAINT AND DEMAND FOR JURY TRIAL
17           Plaintiff, JOSE RIVAS (Plaintiff), through his attorneys, Leisinger Law,
18   LLP., alleges the following against Defendants, CAPITAL SERVICING GROUP,
19   LLC. & CRAIG SADLAK, (Defendants):
20                                  INTRODUCTION
21         1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection
22           Practices Act, 15 U.S.C. 1692 et seq. (FDCPA).
23         2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt
24           Collection Practices Act, Cal. Civ. Code §1788 et seq. (RFDCPA).
25   ///


                           COMPLAINT AND DEMAND FOR JURY TRIAL
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1                                JURISDICTION AND VENUE
2          3. Defendants conduct business in the State of California, and therefore,
3             personal jurisdiction is established.
4          4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
5                                              PARTIES
6          5. Plaintiff is a natural person residing in Stanton, Orange County, California.
7          6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and
8             according to Defendants.
9          7. Defendants each is a debt collector as that term is defined by 15 U.S.C.
10            1692a(6) and Cal. Civ. Code §1788.2(c), and sought to collect a consumer
11            debt from Plaintiff.
12         8. Defendant, CAPITAL SERVICING GROUP, LLC, is a collection agency
13            with a business offices located in Apple Valley, Minnesota.
14         9. Defendant, CRAIG SADLAK, is the President and CEO of CAPITAL
15            SERVICING GROUP, LLC, which is a collection agency with a business
16            offices located in Apple Valley, Minnesota.
17         10. Defendants acted through their agents, employees, officers, members,
18            directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
19            representatives, and insurers.
20

21                                   FACTUAL ALLEGATIONS
22         11. Defendants are attempting to collect a debt from Plaintiff.
23         12. The alleged debt arises from transactions for personal, family, and
24            household purposes.
25   ///


                            COMPLAINT AND DEMAND FOR JURY TRIAL
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1          13. Upon information and belief Defendants are attempting to collect a debt
2             owed by an individual by the name of “Stacy Rivas.”
3          14. Plaintiff does not know “Stacy Rivas.”
4          15. In November of 2014, Defendants began placing calls to Plaintiff, calling
5             Plaintiff’s telephone number (714) 820-60xx.
6          16. In November of 2014, Defendant began placing calls to Plaintiff attempting
7             to collect a debt, from Plaintiff, for an individual named “Stacy Rivas.”
8          17. In November of 2014, Plaintiff spoke with Defendants, or an agent thereof,
9             named “Tom.”
10         18. On or around November 13, 2014, Plaintiff received a call from Defendants
11            and advised Defendant that Plaintiff was not “Stacy Rivas” and demanded
12            that Defendants cease placing collection calls to Plaintiff. See Exhibit A
13            attached hereto.
14         19. Despite being put on notice that Plaintiff is not the alleged debtor, “Stacy
15            Rivas”, Defendants are trying to contact, Defendants continued to place
16            collection calls to Plaintiff.
17         20. Defendants called Plaintiff on November 18, 2014 at 12:46 PM. See Exhibit
18            A attached hereto.
19         21. Defendants called Plaintiff on November 18, 2014 at 5:01 PM. See Exhibit
20            A attached hereto.
21         22. Defendants called Plaintiff on November 25, 2014 at 1:19 PM. See Exhibit
22            A attached hereto.
23         23. Defendants called Plaintiff on November 25, 2014 at 4:00 PM. See Exhibit
24            A attached hereto.
25   ///


                             COMPLAINT AND DEMAND FOR JURY TRIAL
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1          24. Defendants called Plaintiff on November 25, 2014 at 5:11 PM. See Exhibit
2             A attached hereto.
3          25. Defendants called Plaintiff on December 2, 2014 at 11:44 AM. See Exhibit
4             A attached hereto.
5          26. Defendants called Plaintiff on December 4, 2014 at 3:14 PM. See Exhibit A
6             attached hereto.
7          27. Defendants called Plaintiff on December 12, 2014 at 2:04 PM. See Exhibit
8             A attached hereto.
9          28. Defendants called Plaintiff on December 15, 2014 at 12:05 PM. See Exhibit
10            A attached hereto.
11         29. Defendants called Plaintiff on December 16, 2014 at 3:14 PM. See Exhibit
12            A attached hereto.
13         30. Defendants called Plaintiff on December 16, 2014 at 4:41 PM. See Exhibit
14            A attached hereto.
15         31. Defendants called Plaintiff on December 16, 2014 at 5:11 PM. See Exhibit
16            A attached hereto.
17         32. Defendants called Plaintiff on December 17, 2014 at 5:20 PM. See Exhibit
18            A attached hereto.
19         33. Defendants called Plaintiff on December 19, 2014 at 11:18 AM. See Exhibit
20            A attached hereto.
21         34. Defendants called Plaintiff on December 19, 2014 at 1:37 PM. See Exhibit
22            A attached hereto.
23         35. Defendants called Plaintiff on December 19, 2014 at 2:53 PM. See Exhibit
24            A attached hereto.
25   ///


                            COMPLAINT AND DEMAND FOR JURY TRIAL
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1          36. Defendants called Plaintiff on December 22, 2014 at 12:07 PM. See Exhibit
2             A attached hereto.
3          37. On December 26, 2014 at 12:07 PM, Plaintiff again advised Defendants
4             that Defendants were continuing to place harassing collection calls to
5             Plaintiff, despite the fact that Plaintiff is not the debtor in question. See
6             Exhibit A attached hereto.
7          38. Despite being advised by Plaintiff that Defendants were continuing to call
8             and harass the wrong individual, Defendants continued to place calls to
9             Plaintiff after December 26, 2014.
10         39. Defendants placed a collection call to Plaintiff on January 6, 2015 at 2:39
11            PM from telephone number (952) 683-1223, a phone number belonging to
12            Defendant. See Exhibit A attached hereto.
                                           COUNT I
13
              DEFENDANTS VIOLATED THE FAIR DEBT COLLECTION
14                                    PRACTICES ACT
15         40. Defendants violated the FDCPA based on the following:
16               a. Defendant violated §1692d of the FDCPA by engaging in conduct
17                  the natural consequences of which is to harass, oppress, or abuse any
18                  person in connection with the collection of an alleged debt;
19         WHEREFORE, Plaintiff, JOSE RIVAS, respectfully requests judgment be
20   entered against Defendants, CAPITAL SERVICING GROUP, LLC. & CRAIG
21   SADLAK for the following:
22               A. Statutory damages of $1000.00 pursuant to the Fair Debt Collection
23                  Practices Act, 15 U.S.C. 1692k,
24               B. Actual damages,
25   ///



                            COMPLAINT AND DEMAND FOR JURY TRIAL
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1                C. Costs and reasonable attorneys’ fees pursuant to the Fair Debt
2                    Collection Practices Act, 15 U.S.C. 1692k.
3                D. Any other relief that this Honorable Court deems appropriate.
4
                           COUNT II
5    DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
                         PRACTICES ACT
6

7          41. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s
8             Complaint as the allegations in Count II of Plaintiff’s Complaint.
9          42. Defendant violated the RFDCPA based on the following:
10               a. Defendants violated the §1788.17 of the RFDCPA by continuously
11                   failing to comply with the statutory regulations contained within the
12                   FDCPA, 15 U.S.C. § 1692 et seq, in particular 15 U.S.C. § 1692(d).
13         WHEREFORE, Plaintiff, JOSE RIVAS, respectfully requests judgment be
14   entered against Defendants, CAPITAL SERVICING GROUP, LLC. & CRAIG
15   SADLAK, for the following:
16               A. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
17                   Collection Practices Act, Cal. Civ. Code §1788.30(b),
18               B. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair
19                   Debt Collection Practices Act, Cal. Civ Code § 1788.30(c), and
20               C. Any other relief that this Honorable Court deems appropriate.
21   ///
22   ///
23   ///
24   ///
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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1                            DEMAND FOR JURY TRIAL
2         Please take notice that Plaintiff demands a trial by jury in this action.
3

4                                                  RESPECTFULLY SUBMITTED,
          Dated: July 16, 2015                     By:/s/ Rory Leisinger
5
                                                          Rory Leisinger, Esq.
6                                                         118 N. Citrus, Suite B
                                                          Covina, CA 91723
7                                                         Tel: 626-290-2868
                                                          Rory@leisingerlaw.com
8                                                         Attorney for Plaintiff,
                                                          JOSE RIVAS
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                        COMPLAINT AND DEMAND FOR JURY TRIAL
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